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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

RICO LAMAR BALLARD,                 :
                                    :
                  Plaintiff,        :
                                    :
             v.                     :                  Case No. 5:21-cv-141 (MTT)(CHW)
                                    :
GAINES, et al.,                     :                  Proceedings Under 42 U.S.C. § 1983
                                    :                  Before the U.S. Magistrate Judge
                  Defendants.       :
____________________________________:

                                              ORDER

       In a prior Order, the Court directed Plaintiff to provide updated service information for

Defendant Lewis. (Doc. 19). Plaintiff has not provided any such new service information, but

Plaintiff nevertheless moves for the Court “to direct service upon Defendant[] Lewis … who[se]

address is unknown.” (Doc. 43). Plaintiff’s motion for service is DENIED for futility.

       The Court is mindful, however, that Plaintiff, a prisoner, is not well positioned to conduct

discovery as to Defendant Lewis’s personal information, such as his home address. Hence,

Plaintiff may be unable to provide the Court with any updated service information.

       For that reason, and to avoid needless delays in the final resolution of this action, it appears

that counsel for the remaining defendants may be better positioned to furnish the Court with current

service information for Defendant Lewis. Accordingly, and in an effort to minimize unnecessary

service expenses or further delay, the Court respectfully requests that counsel for the remaining

defendants, who are represented by the Attorney General for the State of Georgia, consult with the

Georgia Department of Corrections and furnish the Court with any available information regarding

a current address for Defendant Lewis, who is alleged to have worked as a CERT officer at the

Georgia Diagnostic and Classification Prison in March 2020.

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       If the only available address for Defendant Lewis is a current or former home address, then

counsel is instructed to electronically file that address with the Court using the “notice” event, and

“ex parte document,” to protect the defendant’s privacy.

       SO ORDERED, this 6th day of October, 2021.


                                               s/ Charles H. Weigle_________
                                               Charles H. Weigle
                                               United States Magistrate Judge




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